        Case 2:18-cv-00216-RFB-CWH Document 120 Filed 07/18/18 Page 1 of 4


 1   David T. Blake, Esq. (# 11059)
     CLEAR COUNSEL LAW GROUP
 2   1671 W. Horizon Ridge Parkway, Suite 200
 3   Henderson, Nevada 89012
     (702) 476-5900
 4   (702) 924-0709 (Fax)
     dave@clearcounsel.com
 5   Attorneys for Summit Estate, Inc. dba
     Summit Estate Recovery Center
 6                                 UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA

 8     PAUL PONOMARENKO, an individual,            Case No.   2:18-CV-00216-RFB-CWH

 9                          Plaintiff,
10     vs.
11
       PROJECT VEGAS MANSION, corporate
12     entity of unknown form, NATHAN
       SHAPIRO, an individual; and DOES 1
13     through 50,
14
                          Defendants
15
       NATHAN SHAPIRO, an individual,
16
                         Counterclaimant,
17     vs.
18
       PAUL PONOMARENKO, an individual,
19     DOES 1 THROUGH 50 and ROE business
       entities 51 through 100.
20
                         Counterdefendants.
21                                                 Third-Party Defendant Summit Estate,
22     NATHAN SHAPIRO, an individual,              Inc., dba Summit Estate Recovery
                                                   Center’s Answer to Nathan Shapiro’s
23                      Third-Party Plaintiff,     Third-Party Complaint

24     vs.
25     SUMMIT ESTATE, INC., DBA SUMMIT
26     ESTATE RECOVERY CENTER, a
       California corporation, LUKE GERHARD
27     KROGH an individual, DOES 1 through 50
       and ROE business entities 51 through 100.
28
                       Third-Party Defendants.
          Case 2:18-cv-00216-RFB-CWH Document 120 Filed 07/18/18 Page 2 of 4



 1          Third-Party Defendants, Summit Estate, Inc. dba Summit Estate Recovery Center, (“Summit”)

 2   by and through its attorneys of record of the law firm Clear Counsel Law Group, respectfully answers

 3   Defendant/Third-Party Plaintiff, Nathan Shapiro’s (“Shapiro”) Third-Party Complaint as follows:

 4          1.      Answering Paragraph 1 of the Third-Party Complaint, Summit is without sufficient

 5   information or knowledge to form a belief as to the truth of these allegations, and therefore denies each

 6   and every allegation contained therein.

 7          2.      Answering Paragraph 2 of the Third-Party Complaint, Summit admits the allegations

 8   contained therein.

 9          3.      Answering paragraphs 6 (including subparagraphs (a)-(e), 7, and 8 of the Third-Party

10   Complaint, Summit denies the allegations contained therein.

11          4.       Answering Paragraphs 3, 4, and 5 of the Third-Party Complaint, Summit responds that

12   the paragraphs contain legal conclusions to which no response is required. To the extent that a response

13   is required, Summit denies all allegations contained therein.

14                                             Affirmative Defenses

15          1.      Shapiro has failed to state a claim upon which relief can be granted.

16          2.      Summit is a corporation duly incorporated on February 18, 2009 under the laws of the

17   state of California and, since that time, has been engaged in the operation of its corporate affiars

18   setparate, distinct, and apart from those of Counterdefendant Ponomarenko and there are no facts which

19   would justify or authorize the Court in disregarding the corporate entity of Summit.

20          3.      Shapiro has failed to mitigate damages, if any, which Summit denies there are any such

21   alleged damages, and Shapiro’s Third-Party Complaint is therefore barred, or in the alternative, any

22   recovery should therefore be reduced accordingly.

23          4.      The Court lacks pesronal and subject matter jurisdiction over the claims in Third-Party

24   Complaint and against Defendant Summit.

25          5.      To the extent that a contract existed, Summit is excused from performance of any

26   contract duties because Shapiro failed to perform material duties and obligations.

27          6.      The contract alleged in the complaint cannot be enforced because it violates that law

28   and/or public policy.

                                                      2 of 4
          Case 2:18-cv-00216-RFB-CWH Document 120 Filed 07/18/18 Page 3 of 4



 1          7.      Shapiro’s Third-Party Complaint is barred based upon the doctrine of unclean hands.

 2          8.      Shapiro’s Third-Party Complaint is barred based upon the doctrine of estoppel.

 3          9.      Shapiro’s Third-Party Complaint is barred upon the doctrine of laches.

 4          10.     Shapiro’s Third-Party Complaint is barred by the statute of limitations or other

 5   applicable limitations period.

 6          11.     Summit herein incorporates any affirmative defenses to the Third-Party Complaint

 7   against Paul Ponomarenko that are or may be available to Ponomarenko, incluidng all affirmative

 8   defenses raised in Ponomarenko’s Answer to First Amended Counterclaim including any amendments

 9   thereto.

10          12.     Summit reserves the right to assert any additional affirmative defenses and matters in

11   avoidance may be disclosed during the course of additional investigation and discovery. Pursuant to

12   FRCP 11, all possible affirmative defenses may not have been alleged herein insofar as sufficient facts

13   were not pled and are not available after reasonable inquiry upon the filing of the Summit’s Answer to

14   Shapiro’s Third-Party Complaint, and therefore Summit reserves the right to assert additional

15   affirmative defenses at the appropriate time.

16          Wherefore, Summit prays for relief as follows:

17          1.       That Shapiro take nothing by his Third-Party Complaint;

18          2.       That the Court award Summit its costs;

19          3.      That the Court award Summit all reasonable attorneys’ fees incurred in defending

20   Shapiro’s Third-Party Complaint; and

21          4.      For such other and further relief as the Court deems appropriate

22          Dated: July 18, 2018.

23                                                   CLEAR COUNSEL LAW GROUP

24                                                   /s/David T. Blake__________
                                                     David T. Blake, Esq. (#11059)
25                                                   Attorneys for Summit Estate, Inc. dba
26                                                   Summit Estate Recovery Center

27

28

                                                       3 of 4
         Case 2:18-cv-00216-RFB-CWH Document 120 Filed 07/18/18 Page 4 of 4


                                       CERTIFICATE OF SERVICE
 1

 2         I hereby certify that I am an employee of Clear Counsel Law Group and on the 18th day of July

 3   2018, I caused the foregoing Third-Party Defendant Summit Estate, Inc., dba Summit Estate

 4   Recovery Center’s Answer to Nathan Shapiro’s Third-Party Complaint to be served as follows:
 5
           [ ]   by placing a true and correct copy of the same to be deposited for mailing in the
 6                U.S. Mail at Las Vegas, Nevada, enclosed in a sealed envelope upon which first
                  class postage was fully prepaid addressed to the parties below; and/or
 7
           [ ]    via electronic mail to the parties below; and/or
 8
           [ X ] Pursuant to LR IC 4-1 of the United States District Court for the District of Nevada,
 9
                 electronically filed and served through the Court to all registered parties; and/or
10
           [ ]    Other
11
                                                        /s/K.A.Gentile___________
12                                                      An employee of Clear Counsel Law Group
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                   4 of 4
